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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION
                              ----------------------------------------------

United States of America, Plaintiff                    Case No: 1:07-cr-213-03

v.                                                     HONORABLE PAUL L. MALONEY

Anthony L. Lloyd, Defendant
__________________________________/


                     ORDER DENYING DEFENDANT LLOYD’S MOTION
                      FOR RELEASE ON BOND PENDING SENTENCE

Defendant Lloyd has filed a Motion for Release on Bond Pending Sentence. He has been convicted
by a jury of Conspiracy to Distribute Marijuana, a five-year maximum offense. 21 U.S.C. § 841
(b)(1)(D). Sentencing is scheduled for August 11, 2008.

Mid-trial this Court revoked Defendant Lloyd’s authorized bond for unauthorized dissemination of
a Grand Jury transcript. The circumstances surrounding that violation are set forth in an evidentiary
hearing held on April 29, 2008. While no contempt proceedings were initiated against Mr. Lloyd,
the record establishes same. Accordingly, bond was revoked pursuant to 18 U.S.C. 3148(a).

Defendant must establish by clear and convincing evidence that he is not likely to flee or pose a
danger to the safety of any other person or the community, if released. See 18 U.S.C. 3143 (a).
The Court finds he has not done so.

First, defendant, in all likelihood faces a significant prison term for his offense. The trial record
amply demonstrates that defendant has criminal ties to others outside the state of Michigan, Indiana
and Illinois. The potential of flight under these circumstances is significant.

Second, given the benefit of the doubt concerning his specific actions (as opposed to his girlfriend,
Jessica Allen), defendant Lloyd exercised very poor judgment in causing contact with Tommy
Ellis’ wife, even if only to drive by her home during the trial, or shortly before. A reasonable
person in Ms. Ellis’ shoes could very easily interpret the confluence of all the circumstances to
constitute a threat. The Court has no confidence that Mr. Lloyd will abide by any conditions of
bond established by the Court.

Accordingly, defendant’s Motion for Release on Bond is DENIED.


DATED: June 5, 2008                                    s/ Paul L. Maloney
                                                       Paul L. Maloney
                                                       United States District Judge
